           Case 2:02-cr-00214-TLN Document 120 Filed 04/20/06 Page 1 of 4


PROB12A1                 UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                     REPORT OF OFFENDER NON-COMPLIANCE


Offender Name:                   Melody Ann CAMPBELL

Docket Number:                   2:02CR00214-01

Offender Address:                Rohnert Park, California

Judicial Officer:                Honorable Garland E. Burrell, Jr.
                                 United States District Judge
                                 Sacramento, California

Original Sentence Date:          05/21/2004

Original Offense:                21 USC 846, 841(a)(1) - Conspiracy to Manufacture
                                 Marijuana (CLASS B FELONY) and 21 USC 853(a) -
                                 Criminal Forfeiture

Original Sentence:               1 day custody Bureau of Prisons; 36-month term of
                                 supervised release; $100 special assessment.

Special Conditions:              Warrantless search; Financial disclosure; Correctional
                                 treatment; Substance abuse testing; Alcohol
                                 restrictions; Home detention for 12 months; Co-pay for
                                 treatment or testing; Register as drug offender.

Type of Supervision:             Supervised Release

Supervision Commenced:           05/21/2004

Assistant U.S. Attorney:         Kenneth J. Melikian        Telephone: (916) 554-2700

Defense Attorney:                Troy Ellerman              Telephone: (916) 442-5061
                                 (Appointed)

Other Court Action:              None.




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        Case 2:02-cr-00214-TLN Document 120 Filed 04/20/06 Page 2 of 4


RE:    Melody Ann CAMPBELL
       Docket Number: 2:02CR00214-01
       REPORT OF OFFENDER NON-COMPLIANCE




                            NON-COMPLIANCE SUMMARY

The purpose of this report is to advise the Court of an alleged violation of the terms of
supervision. The Probation Officer has developed a plan to dispose of the alleged
non-compliance with action less than revocation, and the Court is requested to approve the
plan to address the non-compliance.


1.     FAILURE TO COMPLY WITH CONDITIONS OF HOME CONFINEMENT


Details of alleged non-compliance: Since the offender was placed on supervision, she
has been supervised by the Northern District of California. According to the supervising
probation officer, on January 29, 2006, the offender violated her home confinement
schedule and the home confinement condition which restricted her from being out of her
residence past 10 p.m. Specifically, she was granted six hours of earned leave from 2 p.m.
to 8 p.m. on the date in question. The offender was out of her residence from 1:11 p.m.
until midnight. The offender previously requested permission to be out for additional time
to participate in and celebrate the wedding of the daughter of her co-defendant/boyfriend,
Steve Peterson. This request was denied.

Ms. Campbell commenced the term of home confinement on February 4, 2005. Her
compliance was marginal. There were intermittent periods during which she was taken off
the program for personal reasons and two other instances in which she committed curfew
violations that were addressed informally with program sanctions. At the time of the
current violation, the offender was nearing the end of the program which was scheduled
to terminate on February 22, 2006. It was decided by the supervising probation officer that
she would be allowed to remain on the program and complete it, however, she was
admonished as to the violation and informed that her earned leave privileges would be
forfeited for the duration. She was also advised this matter would be reported to the Court.



                                                                                      R ev. 04/2005
                                             2                                   P R O B 12A 1.M R G
         Case 2:02-cr-00214-TLN Document 120 Filed 04/20/06 Page 3 of 4


RE:    Melody Ann CAMPBELL
       Docket Number: 2:02CR00214-01
       REPORT OF OFFENDER NON-COMPLIANCE


To her credit, the offender completed a program of substance abuse counseling and
testing without incident. Further, she has complied with the payment schedule for home
confinement fees and has maintained compliance with all of the standard terms of
supervision.


United States Probation Officer Plan/Justification: In view of the aforementioned
information, it is requested that the offender be allowed to continue on supervision and no
additional action be taken at this time.

                                 Respectfully submitted,

                                  /s/ Cynthia J. Mazzei

                                 CYNTHIA J. MAZZEI
                            United States Probation Officer
                              Telephone: (916) 930-4315

DATED:        March 29, 2006
              Sacramento, California
              CJM:jz


REVIEWED BY:         /s/ Lori L. Koehnen (for)
                     KYRIACOS M. SIMONIDIS
                     Supervising United States Probation Officer




                                                                                     R ev. 04/2005
                                             3                                  P R O B 12A 1.M R G
       Case 2:02-cr-00214-TLN Document 120 Filed 04/20/06 Page 4 of 4


RE:   Melody Ann CAMPBELL
      Docket Number: 2:02CR00214-01
      REPORT OF OFFENDER NON-COMPLIANCE




THE COURT ORDERS:

(X)   The Court Approves Probation Officer's Plan, and Orders No Further Action Be
      Taken At This Time.

( )   Submit a Request for Modifying the Conditions or Term of Supervision.

( )   Submit a Request for Warrant or Summons.

( )   Other:

Dated: April 19, 2006


                                       /s/ Garland E. Burrell, Jr.
                                       GARLAND E. BURRELL, JR.
                                       United States District Judge




cc:   United States Probation
      Kenneth J. Melikian, Assistant United States Attorney
      Troy Ellerman, Defense Counsel

Attachment: Presentence Report (Sacramento only)




                                                                                   R ev. 04/2005
                                          4                                   P R O B 12A 1.M R G
